             Case 2:25-cv-00244-LK        Document 267        Filed 03/28/25       Page 1 of 3




 1                                                                             District Judge Lauren King

 2

 3

 4

 5

 6

 7                               UNITED STATES DISTRICT COURT FOR THE
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE

 9   STATE OF WASHINGTON, et al.,

10                                                      CASE NO. 2:25-cv-00244-LJK
                            Plaintiffs,
                                                        NOTICE OF REINSTATEMENT
                            v.
11
     DONALD J. TRUMP, in his official capacity as
12   President of the United States, et al.,

13                          Defendants.

14
                                      NOTICE OF REINSTATEMENT
15
            1. Defendants hereby provide notice to the Court of agency action relevant to the Court’s
16
                Order Denying Plaintiffs’ Motion for Contempt and Attorney’s Fees and Granting
17
                Plaintiffs’ Motion for Expedited Discovery, ECF No. 258.
18
            2. Plaintiffs’ Motion for Contempt, Shortened Time, and Attorneys’ Fees, ECF No. 243,
19
                contended that the National Institutes of Health (NIH)’s termination of a specific research
20
                grant to Seattle Children’s Hospital violated this Court’s temporary restraining order
21
                and/or preliminary injunction. It requested, in the alternative, that the Court authorize
22
                expedited discovery into whether the termination violated the Court’s orders.
23
      Notice of Reinstatement                                                       U.S. DEPARTMENT OF JUSTICE
24    2:25-cv-00244-LK - 1                                                C IVIL DIVISION, F EDERAL P ROGRAMS B RANCH
                                                                                         1100 L S TREET, NW
                                                                                       WASHINGTON, DC 20005
                                                                                             202-305-0845
            Case 2:25-cv-00244-LK        Document 267       Filed 03/28/25       Page 2 of 3




 1         3. Defendants contended that the termination did not violate this Court’s orders, and that

 2             expedited discovery was improper. See ECF No. 253.

 3         4. On March 13, 2025, the Court denied Plaintiffs’ motion for contempt, providing a

 4             clarification of the scope of its preliminary injunction, and granted expedited discovery

 5             into whether the termination was “in contravention of the Court’s preliminary

 6             injunction.” ECF No. 258 at 15.

 7         5. Plaintiffs subsequently served two subpoenas on current and former employees of NIH,

 8             and directed interrogatories and requests for production of documents to all Defendants.

 9         6. Defendants maintain that the termination did not violate this Court’s orders.

10             Nevertheless, in light of the Court’s March 13, 2025 order, and to conserve the parties’

11             and Court’s resources, NIH reinstated the grant at issue in full on March 27, 2025. See

12             Exhibit A.

13         7. Defendants’ position is that Plaintiffs’ expedited discovery requests are now moot.

14

15

16

17

18

19

20

21

22

23
     Notice of Reinstatement                                                      U.S. DEPARTMENT OF JUSTICE
24   2:25-cv-00244-LK - 2                                               C IVIL DIVISION, F EDERAL P ROGRAMS B RANCH
                                                                                       1100 L S TREET, NW
                                                                                     WASHINGTON, DC 20005
                                                                                           202-305-0845
             Case 2:25-cv-00244-LK     Document 267    Filed 03/28/25      Page 3 of 3




 1

 2   DATED this 28 th day of March, 2025.

 3                                          Respectfully submitted,

 4                                          YAAKOV M. ROTH
                                            Acting Assistant Attorney General
 5                                          Civil Division

 6                                          MICHELLE BENNETT
                                            Assistant Branch Director
 7
                                            /s/ Christian S. Daniel
 8                                          VINITA B. ANDRAPALLIYAL
                                            Senior Trial Counsel
 9                                          CHRISTIAN S. DANIEL
                                            Trial Attorney
10                                          United States Department of Justice
                                            Civil Division, Federal Programs Branch
11                                          1100 L Street NW
                                            Washington, DC 20530
12                                          Tel.: (202) 305-0845
                                            vinita.b.andrapalliyal@usdoj.gov
13                                          christian.s.daniel@usdoj.gov

14                                          Attorneys for Defendants

15

16

17

18

19

20

21

22

23
      Notice of Reinstatement                                               U.S. DEPARTMENT OF JUSTICE
24    2:25-cv-00244-LK - 3                                        C IVIL DIVISION, F EDERAL P ROGRAMS B RANCH
                                                                                 1100 L S TREET, NW
                                                                               WASHINGTON, DC 20005
                                                                                     202-305-0845
